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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

GARY ROUNDTREE, OLLIE DAILEY,                    §
GERRY LEWIS, ANTONIO JAMES,                      §
COREY POLITE, HEATHER DAVIS,                     §
LATOYA STUART, SYLVIA                            §
MATTHEWS, MARIAN PAYNE, and                      §
BILLY KELLY,                                     §
                                                 §     Civil Action 3:22-cv-2675
       Plaintiffs,                               §
                                                 §
vs.                                              §
                                                 §
RAYTHEON TECHNOLOGIES CORP.,                     §     JURY DEMANDED
                                                 §
       Defendant.                                §

                      ORDER GRANTING MOTION TO COMPEL

       THIS MATTER is before the Court on Plaintiff’s opposed Motion to Compel Defendants

to answer interrogatories and produce documents, filed on April 12, 2024. For the reasons stated

in the Motion and for good cause shown, the Court grants the motion.

       IT IS THEREFORE ORDERED that Defendant Raytheon shall provide interrogatory

answers and documents as follows:

                                    INTERROGATORIES

       Having considered the motion, the Court finds it should be GRANTED as follows:

       As to Interrogatory No. 1:

               GRANTED:______________ DENIED:______________

       As to Interrogatory No. 2:

               GRANTED:______________ DENIED:______________




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       As to Interrogatory No. 3:

              GRANTED:______________ DENIED:______________

       As to Interrogatory No. 4:

              GRANTED:______________ DENIED:______________

       As to Interrogatory No. 8:

              GRANTED:______________ DENIED:______________

                             REQUESTS FOR PRODUCTION

       Having considered the motion, the Court finds it should be GRANTED as follows:

       As to Request for Production No. 2:

              GRANTED:______________ DENIED:______________

       As to Request for Production No. 7:

              GRANTED:______________ DENIED:______________

       As to Request for Production No. 8:

              GRANTED:______________ DENIED:______________

       As to Request for Production No. 9:

              GRANTED:______________ DENIED:______________

       As to Request for Production No. 10:

              GRANTED:______________ DENIED:______________

       As to Request for Production No. 11:

              GRANTED:______________ DENIED:______________

       As to Request for Production No. 16:

              GRANTED:______________ DENIED:______________



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       As to Request for Production No. 20:

              GRANTED:______________ DENIED:______________

       As to Request for Production No. 21:

              GRANTED:______________ DENIED:______________

       Responses to be produced under this Order must be produced within 21 days of entry of

this Order.

       Dated: __________________



                                              _________________________________
                                              THE HONORABLE BARBARA M.G. LYNN
                                              UNITED STATES DISTRICT JUDGE FOR THE
                                              NORTHERN DISTRICT OF TEXAS




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